                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:03CR71-09-MU


UNITED STATES OF AMERICA,                         )
                                                  )
                               Plaintiff,         )
               v.                                 )                   ORDER
                                                  )
KIMBERLY ANN PIERCY,                              )
                                                  )
                               Defendant.         )


       THIS MATTER comes before the Court upon the Defendant’s “Motion to Reduce Term

of Imprisonment” received on November 27, 2006. Defendant sent the instant motion to chambers

and this Court now directs the Clerk to file as a Motion in Defendant’s criminal case. Next, the

Court notes that Defendant’s Motion was not served on the Government. As such, the Court directs

the Clerk to serve the United States Attorney with a copy of Defendant’s Motion.

       The Court also directs the Government to file a response to Defendant’s Motion specifically

addressing Defendant’s contention that she is entitled to a reduction in the term of her imprisonment

due to a change to the Sentencing Guidelines. Such response shall be filed within twenty days of

the date of this Order.

       NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1. The Clerk is directed to file Defendant’s letter as a Motion to Reduce Sentence,

       2. The Clerk is directed to serve the Government with a copy of Defendant’s Motion and

       3. The Government is directed to file a response to Defendant’s Motion no later than twenty

(20) days from the date of this Order.


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SO ORDERED.




                                       Signed: November 28, 2006




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